          Case 2:18-bk-19004-VZ            Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                           Desc
                                            Main Document    Page 1 of 68


 Attorney or Party Name, Address, Telephone & FAX                    FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

 M. Jonathan Hayes (Bar No. 90388)
 Matthew D. Resnik (Bar No. 182562)
 Roksana D. Moradi-Brovia (Bar No. 266572)
 RESNIK HAYES MORADI LLP
 17609 Ventura Blvd., Suite 314
 Encino, CA 91316
 Telephone: (818) 285-0100
 Facsimile: (818) 827-4919
 jhayes@rhmfirm.com
 matt@rhmfirm.com
 roksana@rhmfirm.com

     Individual appearing without attorney
     Attorney for: DEBTOR

                                    UNITED STATES BANKRUPTCY COURT
                           CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

 In re:                                                              CASE NO.: 2:18-bk-19004-VZ
                                                                     CHAPTER: 11


                                                                           DISCLOSURE STATEMENT AND PLAN
                                                                            OF REORGANIZATION OF DEBTOR
                     JONG UK BYUN,
                                                                              WHO IS AN INDIVIDUAL(S) WITH
                                                                              PRIMARILY CONSUMER DEBTS
                                                                                      [11 U.S.C. §§ 1123, 1125]

                                                                         Initial Disclosure Statement and Plan
                                                                         1st Amended Disclosure Statement and Plan


                                                                                   For information on court hearings,
                                                      Debtor(s).              see the separately filed notice(s) of hearing.


The Debtor is an individual(s) with primarily consumer debts who filed a chapter 11 bankruptcy case to treat claims
through a plan of reorganization. 11 U.S.C. § 1125 requires the Debtor to disclose adequate information about a plan
before the Debtor can solicit votes on that plan. To avoid confusion and contradiction, the Debtor filed the document you
are reading as a combined “Disclosure Statement and Plan of Reorganization” (“DS and Plan”).

PLAN. Sections VII – IX of the DS and Plan constitute the plan of reorganization (the “Plan”), and contains all information
required by 11 U.S.C. § 1123, including the proposed treatment of claims and the effects of confirming the Plan. If the
court confirms the Plan, the terms will be binding on the Debtor and on claimants treated by the Plan.

DISCLOSURE STATEMENT. Sections I – VI and X of the DS and Plan constitute the disclosure statement (the “DS”),
The DS meets the standard for adequate information set forth in 11 U.S.C. § 1125(a). The information disclosed is for
explanatory purposes only and is as accurate as possible.


                      This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.

August 2016                                                     Page 1                  VZ CH11.IND.NOTICE.HEARING.DISCLSR
        Case 2:18-bk-19004-VZ                  Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                                  Desc
                                                Main Document    Page 2 of 68


                                                  NOTE ABOUT CITATIONS
                “Chapter, section and §” references are to 11 U.S.C. §§ 101-1532 of the Bankruptcy Code.
                “FRBP” references are to the Federal Rules of Bankruptcy Procedure.
                “LBR” references are to the Local Bankruptcy Rules for the Central District of California.
                “Motion” references mean that a motion is properly filed, served, and ruled on by the court.

                                                       TABLE OF CONTENTS

                    DISCLOSURE STATEMENT                                                                                  Page
          I.        Type of Plan of Reorganization; Important Dates                                                         3
          II.       Background Information about the Debtor                                                                 3
          III.      Definitions: Claims, Voting, Objecting to Confirmation                                                  5
          IV.       Liquidation Analysis                                                                                    7
          V.        Non-Income Sources to Fund the Plan                                                                     9
          VI.       Financial Feasibility, Risk Factors, Tax Consequences                                                  10
                     PLAN OF REORGANIZATION

          VII.      Plan Provisions: Treatment of Claims                                                                   12

                    A.    Post-Petition Domestic Support Obligation: Pay Before Plan is Confirmed                          12
                    B.    Executory Contracts and Unexpired Leases                                                         13
                    C.    Unsecured Claims: Administrative Expenses, Taxes                                                 14
                    D     CLASS # 1: Unsecured Claims: Pre-Petition Domestic Support Obligations                           15

                    E.    CLASS # 2: Unsecured Claims: Nominal and General                                                 16

                    F.    CLASS # 3 and # 4: Secured Claims: Debtor’s Primary Residence                                    16

                    G.    CLASS # 5 and # 6: Secured Claims: Other Property                                                18

          VIII.     Unclaimed or Undeliverable Plan Distributions                                                          31
          IX.       Discharge                                                                                              31
          X. EXHIBITS AND DECLARATIONS                                                                                     31
                          Mandatory Exhibits
                    Declaration of Debtor                                                                                 EXH A
                    List of all Claims                                                                                    EXH B
                    List of all Property and Valuation of Property as of Confirmation Date                                EXH C
                    Projected Income, Expenses and Payments by Month/Quarter                                              EXH D
                         Optional Exhibits
                    Letters from the Environmental Protection Agency re Santa Fe Property                                 EXH E




                          This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.

August 2016                                                         Page 2                  VZ CH11.IND.NOTICE.HEARING.DISCLSR
        Case 2:18-bk-19004-VZ                Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                                    Desc
                                              Main Document    Page 3 of 68



I. TYPE OF PLAN OF REORGANIZATION; IMPORTANT DATES
    Payments and treatments under the Plan have a starting date (“Effective Date”), a period of time after the Effective
    Date to continue payments (“Plan Term”), and a final payment date.

                 Plan Type                       Effective Date                           Plan Term              Final Payment Date

                  Operating           14 days after order confirming Plan                 5 years; or                   July 1, 2024
                                                                                                                        (estimated)
                  Liquidating         Other date: the first business                              months
                                  day that is fourteen (14)
                                  calendar days after the entry
                                  of the order confirming the
                                  Plan, with payments
                                  beginning by the first day of
                                  the following month.


II. BACKGROUND INFORMATION ABOUT THE DEBTOR
        A. FACTORS THAT LED TO FILING THIS BANKRUPTCY CASE. (Describe briefly):

              The Debtor filed this personal chapter 11 case to stop a non-judicial foreclosure sale on four of his real
              properties by the senior deed of trust holder, Hyundai. The foreclosure sale was set for August 6, 2018.
              When the Debtor was unable to convince Hyundai to continue the sale, he filed the petition. A judicial
              foreclosure action filed by Hyundai against the Debtor is pending at this time.

              Debtor owns 7 real properties.

                                                               RESIDENCE

                           Address                                         Value                                         Liens
              None


                                                               RENTAL PROPERTIES

                           Address                                         Value                                         Liens

              “Santa Fe Ave. Property”                    $25 million                                   Liens:
              8201 Santa Fe Ave. Huntington               Note: The Debtor owns the land                1. L.A. County
              Park, CA 90255                              and Central Metal, Inc. owns the              2. Hyundai $22.1 million
              9 parcels, approx. 11 acres                 improvements. The total value is              3. Packo Investment $2,000,000
                                                          $25 million. Central Metal, Inc. will         4. BAE Family Trust $1,290,000
                                                          cooperate with the sale of the                5. Soo Yeong Kim $100,000
                                                          property. The liens to the right              6. Mohamed Sanfaz $500,000
                                                          attach to the full value.                     7. Toni Ko $877,500
                                                                                                        8. Allen Park - Packo Investment
                                                          See Declaration of Jong Uk Byun               $100,000

              “Alameda Property 1”                        $4.8 million (Debtor’s estimate)              Liens:
              2203 S. Alameda St.                                                                       1. L.A. County
              Los Angeles, CA 90058                                                                     2. Hyundai $22.1 million
                        This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.

August 2016                                                       Page 3                  VZ CH11.IND.NOTICE.HEARING.DISCLSR
        Case 2:18-bk-19004-VZ                Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                             Desc
                                              Main Document    Page 4 of 68


              Two parcels, approx. 80,000 sq ft.                                                       3. Packo Investment $2,000,000
                                                                                                       4. BAE Family Trust $1,290,000
                                                                                                       5. Soo Yeong Kim $100,000
                                                                                                       6. Mohamed Sanfaz $500,000
                                                                                                       7. Toni Ko $877,500
                                                                                                       8. Allen Park - Packo Investment
                                                                                                       $100,000

              “Alameda Property 2”                        $5.5 million (per pending sale)              Liens:
              1736 E. 24th St.                            Note: The Debtor owns the land               1. L.A. County
              Los Angeles, CA 90058                       and Central Metal, Inc. owns the             2. Hyundai $22.1 million
              Lot w/ building used as office.             improvements. The total value is             3. Packo Investment $2,000,000
              Vacant                                      $5.5 million. Central Metal, Inc.            4. BAE Family Trust $1,290,000
                                                          will cooperate with the sale of the          5. Soo Yeong Kim $100,000
                                                          property. The liens to the right             6. Mohamed Sanfaz $500,000
                                                          attach to the full value.                    7. Toni Ko $877,500
                                                                                                       8. Allen Park - Packo Investment
                                                                                                       $100,000
                                                          $1.4 million (Debtor’s estimate)             Liens:
              “Alameda Property 3”                                                                     1. L.A. County
              2445 S. Alameda St.                                                                      2. Hyundai $22.1 million
              Los Angeles, CA 90058                                                                    3. Packo Investment $2,000,000
              29,000 sq ft                                                                             4. BAE Family Trust $1,290,000
                                                                                                       5. Soo Yeong Kim $100,000
                                                                                                       6. Mohamed Sanfaz $500,000
                                                                                                       7. Toni Ko $877,500
                                                                                                       8. Allen Park - Packo Investment
                                                                                                       $100,000
              1770 E. 22nd St.                            $150,000 (Debtor’s estimate)                 1. L.A. County
              Los Angeles, CA 90058                                                                    2. Deutsche Bank $221,000
              SFR vacant                                                                               3. Packo Investments
                                                                                                       $2,000,000
                                                                                                       4. Bae Family Trust $1,290,000
                                                                                                       5. Soo Yeong Kim $100,000
                                                                                                       6. Mohamed Sanfaz $500,000
                                                                                                       7. Toni Ko $877,500
                                                                                                       8. Allen Park - Packo Investment
                                                                                                       $100,000
              144 & 146 S. “G” Street                     $ 1 million (Debtor’s estimate)              1. M&A $600,000 ($863,000
              San Bernardino, CA 92410                                                                 originally)
              4.2 acres – 180,000 sq ft                                                                2. Bok Soon Byun $360,000
              5 Parcels                                                                                3. Packo Investments
                                                                                                       $2,000,000
                                                                                                       4. BAE Family Trust $1,290,000
                                                                                                       5. Soo Yeong Kim $100,000
                                                                                                       6. Kap Chan Chong $98,114
                                                                                                       7. Mohamed Sanfaz $500,000
                                                                                                       8. Allen Park - Packo
                                                                                                       Investments $100,000
              24399 Old Highway 58,                       $400,000 (Debtor’s estimate)                 1. San Bernardino County
              Hinkley, CA 92347                                                                        $32,492.52
              34 acres                                                                                 2. M&A $300,000 ($462,500
                                                                                                       originally)
                                                                                                       3. Soo Yeong Kim $100,000



                        This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.

August 2016                                                       Page 4                  VZ CH11.IND.NOTICE.HEARING.DISCLSR
         Case 2:18-bk-19004-VZ               Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                            Desc
                                              Main Document    Page 5 of 68



              Each of these properties are used to some extent in the Debtor’s recycling business operating through his
              wholly owned corporation, Central Metal, Inc.


         B. ACTIONS TAKEN TO SOLVE FINANCIAL PROBLEMS. The Debtor filed this case on (date) August 3,
            2018., which is called the “Petition Date”.

                         Actions Taken Before Petition Date:                            Actions Taken After Petition Date:

               The Debtor listed two of his properties for sale so           The Debtor will continue to try to find buyers for at
               that he could pay the secured creditors out of                least the Santa Fe Property and the Alameda
               escrow. He had a sale pending for the Santa Fe                Property 2 (24th Street) which he believes will pay
               Property on the petition date. That sale would                the secured creditors in full.
               have paid the secured creditors in full. The buyer
               ultimately walked away from the sale, post
               petition.



         C. PROJECTED FINANCIAL PERFORMANCE AFTER PLAN CONFIRMATION. (Describe briefly)
         As set forth in detail on the attached income and expense projections (Exhibit D), with the payments to his
secured creditors from the sale of the two properties as proposed in his Plan, Debtor will have sufficient income to
maintain consistent payments to his priority and secured creditors, with the remainder being paid to his unsecured
creditors.

///




III. DEFINITIONS AND PRELIMINARY INFORMATION

      A. CLAIMS AND CLAIMANTS

         1. Claim [§ 102(2)]. “Claim” refers to all obligations of the Debtor or against property of the Debtor. Claims
            treated under the Plan are included whether the claim arose before or after the bankruptcy case was filed,
            and whether or not an obligation involves a cash payment.

         2. Claimant. A claimant refers to any party treated under the Plan, even if the party did not file a proof of claim.

      B. ALLOWED, DISALLOWED, AND DISPUTED CLAIMS

         1. Allowed Claims. A claim is allowed if it is (a) timely and properly scheduled or filed, and not objected to; or
            (b) objected to, and was settled by the parties or otherwise determined by a court order. Allowed claims are
            provided for in the Plan in the relevant category or class.

         2. Disallowed Claims. A claim is disallowed if it was timely objected to by the Debtor, and the court made a
            ruling that the claim is disallowed in part or entirely. Disallowed claims are not treated under the Plan.

         3. Disputed Claims. A claim is disputed if a ruling on allowance has not been made, and (a) a proof of claim has
            been filed or deemed filed and the Debtor or a party in interest has filed an objection; or (b) a proof of claim
            has not been filed and the Debtor scheduled such claim as disputed, contingent, unliquidated or unknown.

              a. Deadlines for the Claims Objection Process. (1) File proof of claims: Dec 14, 2018; and (2) File
                 objections to claims:              and/or hold a hearing on objections to claims: April 29, 2019.
                        This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.

August 2016                                                       Page 5                  VZ CH11.IND.NOTICE.HEARING.DISCLSR
        Case 2:18-bk-19004-VZ                 Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                             Desc
                                               Main Document    Page 6 of 68


              b. Objections to Claims.   Debtor does not anticipate objecting to any other claims; or
                   The objection process is pending, or will begin, for the following claims:

                      Claimant                          Proof of            Amount                  Basis of Objection to Claim
                                                        Claim #             of Claim

         Packo Investments                              7                   $2 million         Debtor has offsets and/or a portion of
                                                                                               the claim has been paid via other
                                                                                               transactions

         M&A                                            8                   $600,000           Debtor has offsets and/or a portion of
                                                                                               the claim has been paid via other
                                                                                               transactions

         BAE Family Trust                               9                   $1,290,000         Debtor has offsets and/or a portion of
                                                                                               the claim has been paid via other
                                                                                               transactions

         Mohamad Sanfaz                                 10                  $500,000           Debtor has offsets and/or a portion of
                                                                                               the claim has been paid via other
                                                                                               transactions

         Allen Park                                     11                  $100,000           Debtor has offsets and/or a portion of
                                                                                               the claim has been paid via other
                                                                                               transactions

         Hyundai Steel Company                          22                  $22 million        Debtor has offsets and/or a portion of
                                                                                               the claim has been paid via other
                                                                                               transactions




              c.   Delayed Distribution on Disputed Claims; Settlement: No distribution will be made on a claim’s disputed
                   portion unless allowed by a final non-appealable order. FRBP 9019 authorizes the Debtor to settle
                   disputed claims with court approval; but, court approval is not required if a proposed settlement does not
                   exceed $2,500. The Debtor is required to reserve funds to pay the amount claimants would receive if the
                   claim is allowed in full (unless the court approves a different amount). To the extent a disputed claim is
                   disallowed, (a) the funds that had been reserved for such claims will be distributed as provided in the Plan
                   to other creditors of the same class (or as ordered by the court); or (b) if this box is checked  then such
                   funds will be distributed to the Debtor.

  C. POTENTIAL § 1111(b) ELECTIONS. § 1111(b) allows a partially secured claim to be treated as fully secured
     under certain conditions, notwithstanding § 506(a). Claimants should consult their attorney to evaluate if a
     § 1111(b) election is available and is in their best interest, and to identify the deadline for making an election.


  D. VOTING BY BALLOT; FILING OBJECTION TO CONFIRMATION OF PLAN.

      1. Introduction. “Voting” to accept or reject the Plan is different from “objecting” to confirmation of the Plan.

          a. What does voting mean? Voting means a claimant submits a ballot to the Debtor. Ballots are counted so
              the court can determine claims and classes of claims which accept proposed claim treatment, and classes

                         This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.

August 2016                                                        Page 6                  VZ CH11.IND.NOTICE.HEARING.DISCLSR
           Case 2:18-bk-19004-VZ              Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                           Desc
                                               Main Document    Page 7 of 68


                 of claims which reject the proposed treatment. Whether each class “accepts” or “rejects” treatment is only
                 one factor the court must consider to determine whether to grant the Debtor’s request to confirm the Plan.

            b. What does “objecting to confirmation” mean? Objecting to confirmation means a party files and serves a
                document that explains their objection. The Debtor must satisfy many requirements for the court to confirm
                the Plan, and any factor may be a problem the Debtor has not solved before the hearing on Plan
                confirmation. For example, a claimant may object because the Debtor placed their claim in a category or
                class that is not entitled to vote, and the claimant believes the claim is subject to voting. Other parties may
                object because they think the Plan is not feasible, or that the Debtor has not submitted sufficient evidence
                to support financial projections, or has included a term in the Plan that violates the Bankruptcy Code.

            c. Notice of Deadlines for Voting and Objecting. The Debtor will file and serve 2 notices: (1) Notice of
                Hearing on Adequacy of Disclosure Statement (“Notice of DS Hearing”); and Notice of Dates Related to
                Confirmation of Plan and Deadlines to (A) Submit Ballot; (B) File Preliminary Objection to Confirmation of
                Plan; and (C) File Response to Motion to Confirm Plan (“Notice of Deadlines Related to Confirmation”).

      2.    Voting by Ballot.

            a. Who may vote (§ 1124). Look for your claim to see if the Debtor believes you are entitled to vote.

                 (1) Not Entitled to Vote. The Bankruptcy Code treats many claimants as having accepted the Plan without
                     a vote because the Plan treats the claim exactly as required by the Bankruptcy Code. The Bankruptcy
                     Code also treats claimants as having rejected the Plan without a vote if (a) the claimant is to receive no
                     distribution under the Plan; (b) an objection has been filed to that claimants’ claim and the objection has
                     not been resolved prior to filing the Plan; or (c) Debtor scheduled a claim as contingent, disputed,
                     unliquidated or unknown and the creditor has not filed a proof of claim.

                 (2) Entitled To Vote. Claimants are entitled to vote when their claim is impaired, i.e. the Plan alters the
                     contractual, legal or equitable rights of the claimant. In addition, a creditor whose claim has either been
                     objected to or has been scheduled by the Debtor as contingent, disputed, unliquidated, or unknown, or
                     who has not filed a proof of claim, and who wants to vote, must file a motion to have its claim allowed
                     for voting purposes in time for that motion to be heard before the hearing on confirmation of the Plan.

            b. Effect of vote. The Plan can be confirmed if (i) it is accepted by each impaired class because a majority in
                number and at least two-thirds in dollar amount of the claimants in that class who timely voted to accept the
                Plan; or (ii) it is subject to cram down because it was accepted by at least one impaired class exclusive of
                insiders (as defined by §101(31)) and the court determines the Plan is “fair and equitable” (as defined by
                §1129(b)) to all rejecting classes of creditors, and it meets all other criteria required for confirmation).

            c. How to vote. A ballot will accompany the Notice of Deadlines Related to Confirmation. A voting claimant
                must follow the instructions set forth in the Notice of Deadlines Related to Confirmation. A claimant whose
                claim is allowed as partly secured and partly unsecured is entitled to vote in each capacity by delivering one
                ballot for the secured part of the claim and another ballot for the unsecured portion of the claim.

      3. Filing an Objection to Confirmation of the Plan

              a. Who may object. Any claimant or other party in interest may object to confirmation of the Plan.

              b. How to object. Follow the instructions set forth in the Notice of Deadlines Related to Confirmation.

              c. Effect of objection. The court will consider all objections that are timely and properly filed and served.
                  If the objection has merit, it may result in the court denying the Debtor’s request to confirm the Plan.



IV. LIQUIDATION ANALYSIS

    A. RECOVERY ON GENERAL UNSECURED CLAIMS IN A CHAPTER 7 CASE vs. UNDER THE PLAN.
       For claimants who hold general unsecured claims, a factor to help them determine whether to vote to accept or
                         This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.

August 2016                                                        Page 7                  VZ CH11.IND.NOTICE.HEARING.DISCLSR
        Case 2:18-bk-19004-VZ                Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                             Desc
                                              Main Document    Page 8 of 68


        reject a plan is to compare the amount the claimant would receive in a chapter 7 bankruptcy case instead of the
        amount proposed in the Plan. The following table illustrates the comparative payouts in terms of the percentage
        of the amount of a general unsecured claim that would be paid in a chapter 7 case vs. paid under the Plan.


          1. CALCULATION OF ESTIMATED PERCENT RECOVERY IN A CHAPTER 7 CASE

              (a) Net Liquidation value of Debtor’s assets in a Chapter 7 case: See Exhibit C for a
                  list of all property of the bankruptcy estate, valuations, and valuation methods:
                 (1) Total value of the Debtor’s assets: $38,281,323
                 (2) Total dollar amount that must be subtracted from the total asset value before
                     paying general unsecured claims:

                     A. Liens:          $28,071,500 D. Taxes:                 $1,015,580
                     B. Sale costs: $2,296,879              E. Exemptions: $-0-                TOTAL of A-F
                     C. Fees:           $0               F. Other:            $0                     $31,383,959

                                                  (3) Net liquidation value of assets:        (a)(1) minus (a)(2) =
          *Note: Some portion of the Debtor’s assets is actually owned by his entity, Central Metal,
          Inc. The liens which attach to the properties are guaranteed by Central Metal and thus
          attach to 100% of the property, i.e., the Debtor’s portion and Central Metal’s portion.                       $6,897,364

              (b) Expenses to be paid before paying general unsecured claims.
                 (1) Trustee’s Fees: Assuming the chapter 7 trustee disburses the net liquidation value
                     of assets to claimants, § 326 indicates the chapter 7 trustee is entitled to fees of:

                     * 25% on the first $5,000 of all moneys disbursed = $1,250,
                     * 10% on any amount over $5,000 but less than $50,000 = $4,500,
                     * 5% on any amount over $50,000 but not in excess of $1 million = $47,500,
                     * 3% on all amounts over $1 million) = $846,750,

                 (2) Administrative Expense Claims: = $100,000

                 (3) Tax Claims: = $-0-

                 (4) Other Unsecured Claims to be Paid Before General Unsecured Claims: = $0

                                                   TOTAL DOLLAR AMOUNT OF (b) (1) + (2) + (3) + (4) =                   - $1,000,000

           (c) Dollar Amount Available for General Unsecured Claims: (a) minus (b) =
          $5,897,364
              (d) Dollar Amount of General Unsecured Claims: = $1,341,977 (See Exhibit B.)

              (e) % Chapter 7 recovery on general unsecured claims: [ (c) divided by (d) ] x 100% =                        100%




                        This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.

August 2016                                                       Page 8                  VZ CH11.IND.NOTICE.HEARING.DISCLSR
        Case 2:18-bk-19004-VZ                 Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                                   Desc
                                               Main Document    Page 9 of 68



          2. CALCULATION OF PROPOSED PERCENT RECOVERY UNDER THE PLAN

              (a) Dollar Amount Proposed to Pay General Unsecured Claims: $1,341,977

            (b) Dollar Amount of General Unsecured Claims: $1,341,977 (See Exhibit B; but note
          that this amount does include the unsecured portion of any junior liens that may remain
          outstanding after the sale of the two properties. The Debtor expects to pay the junior liens in
          full out of the sales.)

               (c) % Chapter 11 payout on general unsecured claims: [ (b) divided by (a) ] x 100% =                              100%


V. NON-INCOME SOURCES TO FUND PLAN. See Exhibit D for income and other contributions that will fund
    the Plan (Combined Monthly Income). If additional funding sources (non-income) are needed, see below:

    A. Loan or Line of Credit:           None        Loans or Lines of Credit are as follows:

              NAME OF LENDER                                   CONTRIBUTION TYPE                   TERM          INT RATE        PROCEEDS

              (1)                                                  Loan        Credit Line                               %       $

              (2)                                                  Loan        Credit Line                               %       $


    B. Sales of Property:                None        Property is planned to be sold as follows:

              PROPERTY DESCRIPTION: See sections VII.A-G to                          PROPOSED               PROPOSED             PROCEEDS
              identify properties listed below from CLASS #3 - #6.                     SALE                   SALE                TO FUND
              A sale motion is required (FRBP 6004 and LBR 6004-1).                    DATE                   PRICE              THE PLAN

              (1)     Residence (CLASS #3 or #4)                                                        $                    $

              (2)     Property in CLASS #5 or #6: Check only ONE:
                         5a         5b        5c         5d         5e              4/1/2019            $5,500,000           $5,280,000
                         6a         6b        6c         6d         6e

              (3)     Property in CLASS #5 or #6: Check only ONE:
                         5a         5b        5c         5d         5e              12/1/2019           $25 million          $23,750,000
                         6a         6b        6c         6d         6e


    C. Adversary Proceedings:                None        Adversary proceedings are as follows:

              ADVERSARY PROCEEDING DESCRIPTION: FRBP                            DATE FILED OR               ADV. PROC.       ANTICIPATED
              7001 and LBR 7004-1 require a summons/complaint.                   TO BE FILED                 NUMBER           RECOVERY
              (1)                                                                                                            $


              (2)                                                                                                            $

                         This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.

August 2016                                                        Page 9                  VZ CH11.IND.NOTICE.HEARING.DISCLSR
        Case 2:18-bk-19004-VZ                 Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                                    Desc
                                               Main Document    Page 10 of 68



VI. FINANCIAL FEASIBILITY OF THE PLAN. The court must find that confirmation of the Plan is not likely
    to be followed by liquidation or the need for further reorganization, unless that is proposed in the Plan.

    A. Payments Before Plan Confirmation. This section demonstrates the Plan is feasible before confirmation.


              Domestic Support Obligation Due After Petition Date (Section VII.A.) = $ 0


              Source of Funds:          N/A


    B. Payments on the Effective Date. This section demonstrates the Plan is feasible on the Effective Date.

                  (1) CLAIMS AND EXPENSES TO BE PAID ON THE EFFECTIVE DATE                                                  AMOUNT

         Cure Payments: Executory Contracts, Unexpired Leases: Section VII.B.2.                                         0

         Administrative claims + Statutory Costs/Charges: Section VII.C.1. +court costs                                 50,000

         1st Payment: Domestic Support Obligation Due Before Petition Date: Section VII.D.                              0

         Nominal Unsecured Claims: Section VII.E.1.                                                                     0

         First Payments: General Unsecured Claims: Section VII.E.2.                                                     0

         Arrearages + First Payments: Secured Claims: Sections VII.F. – VII.G.                                          11,491

                                              TOTAL TO BE PAID ON THE EFFECTIVE DATE:                                   61,491


                            (2) SOURCE OF FUNDS ON THE EFFECTIVE DATE                                                       AMOUNT

         Cash on Hand:                                                                                                  100,000

         Contribution of Family Member NOT listed in Schedule J, Line 11:
                 Name (identify):                                            Gift        Loan

         Loan or Line of Credit: Described above in:              V.A.(1)           V.A.(2)

         Sale of Property: Described above in:            V.B.(1)        V.B.(2)        V.B.(3)

         Adversary Proceeding Recovery: Described above in:                    V.C.(1)        V.C.(2)

         Other Sources:        (identify):

                                    TOTAL FUNDS AVAILABLE ON THE EFFECTIVE DATE:                                        100,000



         (3) CASH AVAILABLE AFTER PAYMENTS MADE ON THE EFFECTIVE DATE:                                              39,518



                        This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.

August 2016                                                      Page 10                  VZ CH11.IND.NOTICE.HEARING.DISCLSR
        Case 2:18-bk-19004-VZ             Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                                     Desc
                                           Main Document    Page 11 of 68


    C. Payments During the Plan Term. This section demonstrates the Plan is feasible during the Plan Term.


                                                                                                                           Total of
              (1) REGULAR EXPENSES AND INCOME DURING THE PLAN TERM                                      Monthly
                                                                                                                          Plan Term
                                                                                                                          775,020
               Regular Expenses: Amount is from income and expense projections
               attached hereto as Exhibit D Schedule J, Line 22c and is for all
               expenses, including ongoing payments on secured claims that are also
               listed below in sections VII.F – VII.G., but does not include payment on
               administrative claims or U.S. Trustee fees.
               Combined Monthly Income: Amount is from income and expense                                                 3,082,800
               projections attached hereto as Exhibit D – includes employment
               income; rental income. Schedule I, Line 12

               NET INCOME DURING PLAN TERM: Schedule J, Line 23c                                                          2,307,780


              (2) OTHER PAYMENTS TO BE MADE DURING THE PLAN TERM                                        Monthly           Plan Term

               Arrearages on Impaired Secured Claims: Sections VII.F. – VII.G.                        17,039              1,022,340

               Balloon Payments: Sections VII.F. – VII.G.                                                                 $0

               Unsecured Claims                                                                       10,000              30,000
               * Administrative Expenses: Section VII.C.1.

               * Unsecured Claims: Taxes, Other: Sections VII.C.2 and VII.D

               * Unsecured Claims: General: Section VII.E.2.                                          22,366              1,341,977

               TOTAL OF OTHER PAYMENTS MADE DURING THE PLAN TERM                                      49,405              2,394,317




              (3) SOURCE OF FUNDS FOR OTHER PAYMENTS DURING THE PLAN TERM                                              AMOUNT

               Cash After Payments Made on Effective Date: From Section VI.B.(3)                                     39,518

               Net Income During Plan Term: It is possible this is a negative amount. See                            2,607,780
               above, section VI.C.(1), last line in the table, amount under “Plan Term”.
               Contribution of Family Member NOT listed in Schedule I Line 11:
                  Name (identify):                                              Gift        Loan                     $0

               Loan or Line of Credit: Described above in:               V.A.(1)         V.A.(2)                     $0

               Sale of Property: Described above in:             V.B.(1)       V.B.(2)        V.B.(3)                29,030,000

                Adversary Proceeding Recovery: Described above in:                     V.C.(1)       V.C.(2)         $0

               Other Source:        (identify):

                     This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.

August 2016                                                   Page 11                  VZ CH11.IND.NOTICE.HEARING.DISCLSR
        Case 2:18-bk-19004-VZ                Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                                  Desc
                                              Main Document    Page 12 of 68


                    TOTAL FUNDS FOR OTHER PAYMENTS DURING THE PLAN TERM                                                 $31,677,298

    D. Explanation of Risk Factors and Potential Fluctuations When Implementing the Plan.


                RISK FACTOR                               EXPLANATION OF RISK AND FLUCTUATIONS

              Employment/Business        As set forth in detail in the attached declaration and Debtor’s projected
                                         income and expenses chart, Debtor believes that he will be able to meet all of
              Sale of Property
                                         his financial obligations under the Plan. However, as the Plan contemplates
              Balloon Payment            payments to certain classes of creditors over time following the Effective
                                         Date, it is possible that, based on factors that are either not apparent at this
              Int. Rate Adjustment       time or do not exist at this time, that Debtor will not have sufficient cash flow
                                         to pay all of the obligations created under the Plan. For this reason, the
                                         projections cannot be guaranteed to be completely accurate.
                                         Specifically, Debtor could experience in his metal recycling business which
                                         might reduce the rent he actually collects from Central Metal, which would
                                         contribute to a shortfall in cash flow.

              Employment/Business        As set forth in detail in the attached declaration, Debtor believes that the
                                         value of the Santa Fe Property is at least $25 million. But it is possible that
              Sale of Property
                                         he will not ultimately receive an offer of that amount and therefore there will
              Balloon Payment            be less proceeds to pay to the secured creditors out of the proceeds of the
                                         sale which will require larger payments to the creditors in the same period of
              Int. Rate Adjustment       time.
              Other:

    E. TAX CONSEQUENCES OF THE PLAN.

        1. To the Debtor: Tax consequences to the Debtor are:

        Debtor does not anticipate that confirmation of the Plan will have a significant or material effect on his tax liability.
        He will stay current with tax obligations to the taxing agencies (IRS and FTB) and to the county in which his real
        properties are located. The Debtor does not expect to owe income taxes from the sale of the Santa Fe Property
        and 24th Street. The purchase price, and thus the tax, will be allocated between the Debtor and Central Metal,
        Inc.

        2. To Claimants: Claimants should consult their advisors regarding potential tax effects of the Plan;
           nevertheless:

                 Debtor believes tax consequences to claimants are:

                 Debtor is not certain of tax consequences, because:

        Debtor makes no representations regarding the potential tax consequences to creditors as the Tax Code
        embodies many complicated rules that make it difficult to state completely and accurately all the tax implications
        of any action.

VII. PLAN PROVISIONS: TREATMENT OF CLAIMS

    A. DOMESTIC SUPPORT OBLIGATION THAT MUST BE PAID BEFORE PLAN IS CONFIRMED. [§ 1129(a)(14]
       Before the Plan can be confirmed, § 1129(a)(14) requires the Debtor to pay all domestic support obligations that
       became due after the bankruptcy case was filed. Domestic support obligations are defined in § 101(14A).

                        This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.

August 2016                                                      Page 12                  VZ CH11.IND.NOTICE.HEARING.DISCLSR
        Case 2:18-bk-19004-VZ                Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                                     Desc
                                              Main Document    Page 13 of 68


              The Debtor did not have domestic support obligations that became due after the bankruptcy case was filed.
              The following domestic support obligation became due after the bankruptcy case filed:

              Claimant:

                  Statute, Judicial Order, or                  First Date After                Total Due                Date Final Amt
                  Administrative Order that                   Petition Date that                  After                     was paid
                   Creates the Obligation                    Obligation was Due               Petition Date                 will be paid




              See Exhibit          for additional domestic support obligation(s) that must be paid before plan is confirmed.


     B. ASSUMPTION AND REJECTION OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES. [§ 365]

1.              There are no executory contracts or unexpired leases: The Debtor uses his properties in his metal
                recycling business which in turn will pay him rent. At this time, there are no written leases between
                himself and Central Metal, Inc.

        2.      Assumption. The post-confirmation debtor will perform all related obligations whether arising before or
                after confirmation of the Plan. Any arrearages arising before confirmation of the Plan will be paid by the
                first day of the month following the Effective Date unless the parties agree otherwise or the court finds
                that a longer payment schedule still provides the creditor with timely cure and adequate assurance of
                future performance. Obligations that arise after confirmation of the Plan will be paid as they come due.

                   Already Assumed:


                                                                                                                        CURE AMOUNT:
                           DESCRIPTION OF EXECUTORY CONTRACT                                   DATE: ORDER
                                                                                                                         Must be paid on
                                   OR UNEXPIRED LEASE                                           TO ASSUME
                                                                                                                          Effective Date
                  (a)                                                                                                   $


                  (b)                                                                                                   $


                   To be Assumed on the Effective Date.

                                                                                                                        CURE AMOUNT:
                        DESCRIPTION OF EXECUTORY CONTRACT OR UNEXPIRED LEASE
                                                                                                                         Must be paid on
                                                                                                                          Effective Date
                  (a)                                                                                                   $


                  (b)                                                                                                   $



        3.      Rejection. Claims arising from the rejection of an executory contract or unexpired lease are treated as
                general unsecured claims in CLASS #2, except to the extent the court orders otherwise. A claim arising
                from the rejection must be filed no later than 30 days after the date of the order confirming the Plan.


                        This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.

August 2016                                                      Page 13                  VZ CH11.IND.NOTICE.HEARING.DISCLSR
         Case 2:18-bk-19004-VZ                    Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                                Desc
                                                   Main Document    Page 14 of 68


              DESCRIPTION OF EXECUTORY CONTRACT OR UNEXPIRED LEASE
              (a)                                                                       Rejected:       Order Entered on:
                                                                                                        Deemed Rejected on:
                                                                                        To be Rejected on the Effective Date

              (b)                                                                       Rejected:       Order Entered on:
                                                                                                        Deemed Rejected on:
                                                                                        To be Rejected on the Effective Date


                See Exhibit            for additional executory contracts and unexpired leases to be assumed or rejected.
.

    C. UNSECURED CLAIMS THAT MUST BE TREATED AS REQUIRED BY § 1129(a)(9)(A) and § 1129(a)(9)(C),
       UNLESS A CLAIMANT CONSENTS TO A DIFFERENT TREATMENT. §§ 1129(a)(9)(A) and (C) require that
       certain claims be treated one at a time, rather than as a class. Even if another claimant votes to accept a lesser
       treatment, the claims listed below are not altered. The debtor must prove to the court that claims are either being
       treated as 1129(a)(9) requires, or that the claimant agreed to some other treatment.

       1. Administrative Expense Claims - § 507(a)(2) and § 1129(a)(9)(A). These include: (1) court-approved
         claims of attorneys and other professionals; and (2) United States trustee fees under 28 U.S.C. chapter 123.

                    The deadline to file administrative expensive claims is (date)                           .

                    There are no administrative expense claims.
                    All administrative expense claims   have been filed and/or  are anticipated to be filed, and the
                    claims and amounts indicated below are the amounts requested or anticipated to be requested:

          Claimant: U.S. Trustee*

            Claim Amount                               Amount                           Amount Paid After Effective Date
          (less paid to date)           Interest       Paid on
                                          Rate         Effective                               Each              Balloon     Term of
          * Actual
                                         (if any)        Date             Frequency           Payment            Pymts      Payments
          U Estimated
          .
          S                                                                 Monthly
          $4,875                      N/A             Unknown                                 Unknown            None       N/A
          .                                                                 Quarterly

          Trustee quarterly fees shall be paid until a final decree is entered or the case is dismissed or converted.
          Fees of the Office of the United States Trustee are not subject to Court approval and may be paid in the
          ordinary course of business when due.


           Claimant: Resnik Hayes Moradi LLP (“RHM”) [Debtor’s general bankruptcy counsel]**

             Claim Amount                              Amount                           Amount Paid After Effective Date
                                      Interest
           (less paid to date)                         Paid on
                                        Rate                              Frequency            Each              Balloon     Term of
               Actual                                  Effective
                                       (if any)                                               Payment            Pymts      Payments
               Estimated                                 Date

                                                      $50,000               Monthly
                                                                                                                            5 or until
                                                      on the                Quarterly
           $80,000                    N/A                                                     $10,000            N/A        paid in
                                                      Effective
                                                                                                                            full
          I                                           Date
                            This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.

August 2016                                                          Page 14                  VZ CH11.IND.NOTICE.HEARING.DISCLSR
        Case 2:18-bk-19004-VZ                  Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                              Desc
                                                Main Document    Page 15 of 68


         nIn the event there is a default by Debtor in his payment of fees to RHM, the firm will give him notice of the
         default by electronic mail and advise him that he has ten (10) days to cure the default.

         If Debtor does not cure within that time period, RHM will be permitted to accelerate the balance due at the
         time and enforce the order of this Court approving the fees by whatever means are available to it including
         the costs and expenses related to the recording of the order and costs of collection. RHM shall not be
         required to get any further approval of this Court for payments related to outstanding fees.

         RHM and Debtor are permitted to communicate and agree to payment of RHM’s administrative claim on an
         expedited basis, if the ability to pay arises

         2. Tax Claims - § 507(a)(8) and § 1129(a)(9)(C). Must be paid in full within 5 years after the Petition Date.

              There are no tax claims          All tax claims have been filed or scheduled, and are indicated below:


               Claimant: Internal Revenue Service (IRS)
                                                    Amount                           Amount Paid After Effective Date
                                   Interest
                    Claim                           Paid on
                                     Rate                                                   Each            Balloon        Term of
                   Amount                           Effective          Frequency
                                    (§ 511)                                                Payment          Pymts         Payments
                                                      Date

               N/A



              See Exhibit          for additional unsecured claims (not listed in VII.C) on which voting is not allowed.

                   § 507(a)(2) – Administrative Expense Claims
                   § 507(a)(8) – Tax Claims
                   § 507(a)(3) – Involuntary Gap Claims Allowed Under § 502(f)

  D. UNSECURED CLAIMS THAT MUST BE TREATED AS REQUIRED BY § 1129(a)(9)(B) – CLASS #1.
     § 1129(a)(9)(B) requires certain unsecured claims to be treated with priority over general unsecured claims, and
     pay them in full on the Effective Date or as soon as practicable after unless claimants vote as a class to accept
     deferred payments. If so, claims are impaired and claimants are entitled to vote to accept or reject the Plan.

              There are no claims in CLASS #1.

              CLASS #1a: § 507(a)(1) - Domestic Support Obligation Claims Due Before Bankruptcy Case Was Filed


               Claimant:

                   Claim           Interest         Amount                           Amount Paid After Effective Date
                  Amount             Rate           Paid on
               (less amount                         Effective                               Each                Balloon    Term of
                                    (if any)                           Frequency           Payment              Pymts     Payments
               paid to date)                          Date

                                                                         Monthly
               $                          %        $                                       $                $
                                                                         Quarterly                                        months

              See Exhibit          for additional unsecured claims (not listed above) in Class #1:
                   CLASS #1(a): § 507(a)(1) - Domestic Support Obligation Claims (claims that are not listed above)
                   CLASS #1(b): § 507(a)(4) - Wage and Commission Claims
                   CLASS #1(c): § 507(a)(5) – Employee Benefit Plan Contribution Claims
                         This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.

August 2016                                                       Page 15                  VZ CH11.IND.NOTICE.HEARING.DISCLSR
        Case 2:18-bk-19004-VZ                   Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                                 Desc
                                                 Main Document    Page 16 of 68


                   CLASS #1(d): § 507(a)(6) – Grain Producer and Fisherman Claims
                   CLASS #1(e): § 507(a)(7) – Consumer Deposit Claims

  E. OTHER UNSECURED CLAIMS – CLASS #2.

          There are no claims in CLASS #2.

          As of this date, all CLASS #2 claims are included in Exhibit B.

          1.         CLASS #2a: Nominal Unsecured Claims. These include “nominal” claims of $               or less, and
                     any larger unsecured claims whose claimant agreed to reduce its claim to this amount. Claimants are
                     not entitled to vote to accept or reject the Plan.

                     Claimants will be paid the nominal amount on the Effective Date, or as soon as practicable thereafter.
                     Estimated total payments are $         .

              2.     CLASS #2b: General unsecured claims. These are unsecured claims not included in CLASS #2a, and
                     will be paid as follows. Claimants are entitled to vote to reject or accept the Plan.

                           Percent Plan. Each claimant in CLASS #2b will be paid 100% of its claim beginning the first
                           relevant date after the Effective Date:

                           a. Over 5 years in equal    monthly    quarterly installments, due on the first day of each
                              calendar month/quarter; beginning on the fourth month after the Effective Date.

                           b.        with interest at the rate of              % per annum, or          without interest; and.

                           c.     The amount each claimant receives depends on the total amount of allowed claims in this class.

                           Pot Plan. Each member of CLASS #2b will be paid a pro rata share of a fund totaling $N/A created
                           by the Debtor’s payment:

                           a. Pro rata means the entire fund amount divided by the total of all allowed claims in this class.

                           b. Payment amount is $19,500 per                month        quarter for a period of 36 months/quarters,

                                c. Payments will begin on (date): first day of the month following the Effective Date.

                          Other: If the Debtor is able to sell Santa Fe Property for $25 million and closes the sale of 24th
                   Street at $5.5 million and the sales have no tax consequences to the Debtor, the Debtor estimates that
                   after closing costs, he will have net proceeds of $3,212,500. The Debtor will use those funds to pay the
                   unsecured class, Class 2b. $30,500,000 less selling costs of 4% or $1,220,000, less Hyundai of
                   $22,300,000 less the junior lienholders of $3,767,500, less property taxes of $634,000 leaves a net to the
                   Debtor of $2,578,500. The Plan proposes that the Debtor will pay the Class 2b claims over 5 years in
                   case the two properties are sold with no funds left over for unsecured creditors.


  F. CLAIMS SECURED BY DEBTOR’S PRINCIPAL RESIDENCE (“Residence”) – CLASS #3 and CLASS #4.


                   Address of Residence: None

                   Value               Valuation          Order on motion or stipulation            Declaration: Certified appraiser
                                       Method             Declaration: Debtor as owner              Other:
                   N/A


                           This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.

August 2016                                                         Page 16                  VZ CH11.IND.NOTICE.HEARING.DISCLSR
        Case 2:18-bk-19004-VZ                 Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                                Desc
                                               Main Document    Page 17 of 68


          CLASS #3 - Unimpaired Claims. Claimants are not entitled to vote to accept or reject the Plan. Until claims
          are fully paid, claimants retain their interest in the Residence. Treatment is:

               There are no claims in Class #3.

                   CLASS #3a      Claimant:



               Current       Lien            Interest        Unpaid Principal                                        Total Amount of
                                                                                             Arrearages
               Status       Priority           Rate             Balance                                               Allowed Claim
               of Loan
                                                   %                  $                        $                          $

              1.      Payments to Claimant

                       a.      Arrearages        Must be Paid by the Effective Date                Total Amount = $


                       b.                                                  Escrowed Amounts
                                             Principal +                                                       Amount Each Monthly
                       Ongoing                Interest                                                          Ongoing Payment
                                                                          Taxes             Insurance
                       Payments
                                         $                        $                     $                     $


                       c.      Balloon Payment              Amount = $                             Date of Payment:


              2.      Surrender:     Date:                 Method:      Deed in lieu of foreclosure
                                        Effective Date        Consent to relief from stay to allow foreclosure
                                        Other:                    Grant deed
                                                                        Other:
CLASS #4 - Impaired Claims. Claimants are entitled to vote to accept or reject the Plan. Until claims are fully paid,
claimants retain their interest in collateral securing the debt. Treatment is:

              There are no claims in CLASS #4.

               CLASS #4a          Claimant: None

               Current       Lien            Interest        Unpaid Principal                                        Total Amount of
                                                                                             Arrearages
               Status       Priority           Rate             Balance                                               Allowed Claim
               of Loan


              1.      Payments to Claimant


                                          Total Amount           Amt Paid on                Amounts Paid After Effective Date
                       a.
                                          of Arrearages         Effective Date
                       Arrearages                                                      Frequency         Int. Rate       Amt each Pymt

                                                                                            Monthly
                                                                                            Quarterly

                         This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.

August 2016                                                       Page 17                   VZ CH11.IND.NOTICE.HEARING.DISCLSR
        Case 2:18-bk-19004-VZ                 Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                               Desc
                                               Main Document    Page 18 of 68



                       b.                    Principal +                  Escrowed Amounts                     Amount Each Monthly
                                              Interest                                                          Ongoing Payment
                       Ongoing                                         Taxes                Insurance
                       Payments




                                                                     Until Arrearages Cured                  After Arrearages Cured
                       c.      Total Monthly Payment:




                       d.      Balloon Payment              Amount = $                            Date of Payment:


              2.      Sale by (date):               .      Proceeds:         are likely to be sufficient to pay the secured claim
                                                                             are not likely to be sufficient to pay the secured claim,
                                                                             and any resulting claim will be in CLASS #2b

              3.      Treat Claim as Fully Unsecured: Pay as a general unsecured claim under CLASS #2b

              4.      Other:

  G. CLAIMS SECURED BY PROPERTY OTHER THAN RESIDENCE – CLASS #5 and CLASS #6.

      CLASS #5 - Unimpaired Claims. Claimants are not entitled to vote to accept or reject the Plan. Until claims are
      fully paid, claimants retain their interest in the property securing the claim. Treatment is:

          There are no claims in CLASS #5.


                   CLASS #5a       Claimant: Wells Fargo Auto




                   Address of Real Property 5a:

                   Description of Personal Property 5a:

                   Vehicle 5a       2017                Honda Rodgeline         Model:                         VIN:

                   Value:           Valuation             Order on motion or stipulation           Declaration: Certified appraiser
                   $25,000          Method                Declaration: Debtor as owner             Other:




               Current        Lien          Interest         Unpaid Principal                                        Total Amount of
                                                                                            Arrearages
               Status        Priority         Rate              Balance                                               Allowed Claim
               of Loan
                             1st                            $29,658                     $                         $29,658



                         This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.

August 2016                                                       Page 18                   VZ CH11.IND.NOTICE.HEARING.DISCLSR
        Case 2:18-bk-19004-VZ                  Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                                 Desc
                                                Main Document    Page 19 of 68


              1.       Payments to Claimant


                        a.     Arrearages          Must be Paid by the Effective Date               Total Amount = $




                        b.                     Principal +                Escrowed amounts                     Amount Each Monthly
                                                Interest                                                        Ongoing Payment
                        Ongoing                                       Taxes               Insurance
                        Payments
                                          $800                    $                  $                        $800



                        c.     Balloon Payment               Amount = $                           Date of Payment:


              2.       Surrender:                  Method:        Deed or certificate of title in lieu of foreclosure
                       Date:                                      Consent to relief from stay to allow foreclosure or repossession
                          Effective Date                          Grant deed
                          Other:                                  Other:



        CLASS #6 - Impaired Claims. Claimants are entitled to vote to accept or reject the Plan. Until claims are fully
        paid, claimants retain their interest in the property securing the claim. Treatment is:

              There are no claims in CLASS #6.


                   CLASS #6a      Claimant: Hyundai Steel Company



                   Address of Real Property 6a: 8201 Santa Fe Ave., Huntington Park, CA 90255; 2203 S. Alameda St.,
                   Los Angeles, CA 90058; 1736 24th Street, Los Angeles, CA 90058; 2445 S. Alameda St., Los Angeles, CA
                   90058

                   Description of Personal Property 6a:

                   Vehicle 6a          Year:         Make:                          Model:                     VIN:

                   Value:              Valuation         Order on motion or stipulation            Declaration: Certified appraiser
                   $36,700,000         Method            Declaration: Debtor as owner              Other:


                                  Lien           Interest         Unpaid Principal                                       Total Amount of
                    Current                                                                     Arrearages
                                 Priority          Rate              Balance                                              Allowed Claim
                    Status
                    of Loan
                                 1st                           $22,114,555                   $N/A                    $22,114,555

                 Terms of
               New Loan


                         This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.

August 2016                                                       Page 19                  VZ CH11.IND.NOTICE.HEARING.DISCLSR
        Case 2:18-bk-19004-VZ                 Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                                  Desc
                                               Main Document    Page 20 of 68


              1.       Payments to Claimant

                                          Total Amount           Amt Paid on               Amounts Paid After Effective Date
                        a.
                                          of Arrearages         Effective Date
                        Arrearages                                                     Frequency           Int. Rate      Amt Each Pymt
                                         $                     $                          Monthly                         $
                                                                                          Quarterly


                        b.   Ongoing                Principal +                  Escrowed amounts                      Amt Each Monthly
                        Payments                     Interest                                                          Ongoing Payment
                                                                                 Taxes             Insurance
                           current loan
                           rewritten loan


                                                                     Until Arrearages Cured                   After Arrearages Cured
                        c.    Total Monthly Payment:
                                                               $                                       $



                                                            current loan
                        d.     Balloon Payment                                  Amount: $                     Payment Date:
                                                            rewritten loan

              2.       Sale by (date): 12/1/2019.             Proceeds:         are likely to be sufficient to pay the secured claim
                                                                                are not likely to be sufficient to pay the secured claim,
                                                                                any resulting claim will be in CLASS #2b

              3.       Treat Claim as Fully Unsecured: Pay as a general unsecured claim under CLASS #2b

          4.     Other: Sale of 8201 Santa Fe Ave., Huntington Park, CA 90255 and 1736 24th Street, Los Angeles,
CA 90058. See Declaration of Jong Uk Byun for further details.




                   CLASS #6b      Claimant: Packo Investments



                   Address of Real Property 6b: 8201 Santa Fe Ave., Huntington Park, CA 90255; 2203 S. Alameda St.,
                   Los Angeles, CA 90058; 1736 24th Street, Los Angeles, CA 90058; 2445 S. Alameda St., Los Angeles, CA
                   90058, 1770 E. 22nd St, Los Angeles, CA 90058; 144 & 146 S. “G” Street, San Bernardino, CA 92410

                   Description of Personal Property 6b:

                   Vehicle 6b       Year:            Make:                          Model:                      VIN:

                   Value:           Valuation            Order on motion or stipulation            Declaration: Certified appraiser
                   $37,850,000      Method               Declaration: Debtor as owner              Other:
                    Current
                                  Lien          Interest           Unpaid Principal                                      Total Amount of
                    Status                                                                      Arrearages
                                 Priority         Rate                Balance                                             Allowed Claim
                    of Loan
                         This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.

August 2016                                                        Page 20                 VZ CH11.IND.NOTICE.HEARING.DISCLSR
        Case 2:18-bk-19004-VZ                 Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                                      Desc
                                               Main Document    Page 21 of 68


                                              20.0%
                                  2nd                          $2 million                    N/A                       $2 million
                                              (fixed)

                 Terms of
               New Loan

              1.       Payments to Claimant

                                          Total Amount           Amt Paid on               Amounts Paid After Effective Date
                        a.
                                          of Arrearages         Effective Date
                        Arrearages                                                     Frequency           Int. Rate      Amt Each Pymt
                                                                                          Monthly
                                         $                     $                                                          $
                                                                                          Quarterly


                        b.     Ongoing              Principal +                  Escrowed amounts                      Amt Each Monthly
                               Payments              Interest                    Taxes              Insurance          Ongoing Payment
                             current loan
                             rewritten loan



                                                                     Until Arrearages Cured                   After Arrearages Cured
                        c.     Total Monthly Payment:
                                                               $                                       $


                                                            current loan
                        d.     Balloon Payment                                 Amount: $                      Payment Date:
                                                            rewritten loan


              2.       Sale by (date): 12/1/2019.             Proceeds:         are likely to be sufficient to pay the secured claim
                                                                                are not likely to be sufficient to pay the secured claim,
                                                                                any resulting claim will be in CLASS #2b

              3.       Treat Remainder

              4.         Other: Sale of 8201 Santa Fe Ave., Huntington Park, CA 90255. See Declaration of Jong Uk Byun
                    for further details.




                   CLASS #6c       Claimant: BAE Family Trust dated 8/6/2015, c/o Packo Investments, Inc.



                   Address of Real Property 6b: 8201 Santa Fe Ave., Huntington Park, CA 90255; 2203 S. Alameda St.,
                   Los Angeles, CA 90058; 1736 24th Street, Los Angeles, CA 90058; 2445 S. Alameda St., Los Angeles, CA
                   90058, 1770 E. 22nd St, Los Angeles, CA 90058; 144 & 146 S. “G” Street, San Bernardino, CA 92410

                   Description of Personal Property 6b:

                   Vehicle 6b        Year:           Make:                          Model:                      VIN:

                         This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.

August 2016                                                        Page 21                 VZ CH11.IND.NOTICE.HEARING.DISCLSR
        Case 2:18-bk-19004-VZ                 Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                                  Desc
                                               Main Document    Page 22 of 68


                   Value:            Valuation           Order on motion or stipulation             Declaration: Certified appraiser
                   $37,850,000       Method              Declaration: Debtor as owner               Other:

                                   Lien         Interest           Unpaid Principal                                      Total Amount of
                                                                                                Arrearages
                    Current       Priority        Rate                Balance                                             Allowed Claim
                    Status
                    of Loan                   20.0%
                                  3rd                          $1,290,000                    N/A                       $1,290,000
                                              (fixed)

                 Terms of
               New Loan

              1.       Payments to Claimant

                                          Total Amount           Amt Paid on               Amounts Paid After Effective Date
                        a.
                                          of Arrearages         Effective Date
                        Arrearages                                                     Frequency           Int. Rate      Amt Each Pymt
                                                                                          Monthly
                                         $                     $                                                          $
                                                                                          Quarterly


                        b.     Ongoing              Principal +                  Escrowed amounts                      Amt Each Monthly
                               Payments              Interest                    Taxes              Insurance          Ongoing Payment
                             current loan
                             rewritten loan


                                                                     Until Arrearages Cured                   After Arrearages Cured
                        c.     Total Monthly Payment:
                                                               $                                       $


                                                            current loan
                        d.     Balloon Payment                                 Amount: $                      Payment Date:
                                                            rewritten loan


              2.       Sale by (date): 12/1/2019.             Proceeds:         are likely to be sufficient to pay the secured claim
                                                                                are not likely to be sufficient to pay the secured claim,
                                                                                any resulting claim will be in CLASS #2b

              3.       Treat Remainder

              4.       Other: Sale of 8201 Santa Fe Ave., Huntington Park, CA 90255




                   CLASS #6d       Claimant: M&A Equities, LLC c/o Packo Investments, Inc.



                   Address of Real Property 6b: 144 & 146 S. “G” Street, San Bernardino, CA 92410; 24399 Old Highway
                   58, Hinkley, CA 92347

                         This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.

August 2016                                                        Page 22                 VZ CH11.IND.NOTICE.HEARING.DISCLSR
        Case 2:18-bk-19004-VZ                   Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                                     Desc
                                                 Main Document    Page 23 of 68


                   Description of Personal Property 6b:

                   Vehicle 6b           Year:         Make:                         Model:                        VIN:

                   Value:               Valuation         Order on motion or stipulation            Declaration: Certified appraiser
                   $1,400,000           Method            Declaration: Debtor as owner              Other:

                                   Lien          Interest          Unpaid Principal                                       Total Amount of
                                                                                                Arrearages
                    Current       Priority         Rate               Balance                                              Allowed Claim
                    Status
                    of Loan                     18.0%
                                  1st                          $900,000                      N/A                         $900,000
                                                (fixed)

                 Terms of
               New Loan

              1.       Payments to Claimant

                                            Total Amount         Amt Paid on               Amounts Paid After Effective Date
                        a.
                                            of Arrearages       Effective Date
                        Arrearages                                                     Frequency             Int. Rate     Amt Each Pymt
                                                                                          Monthly
                                           $                   $                                                           $
                                                                                          Quarterly


                        b.     Ongoing               Principal +                 Escrowed amounts                        Amt Each Monthly
                               Payments               Interest                   Taxes              Insurance            Ongoing Payment
                             current loan
                             rewritten loan     $900,000                  -0-                      -0-                   $4,831.00



                                                                     Until Arrearages Cured                     After Arrearages Cured
                        c.     Total Monthly Payment:
                                                               $                                         $


                                                            current loan
                        d.     Balloon Payment                                  Amount: $                       Payment Date:
                                                            rewritten loan


              2.       Sale by (date):                        Proceeds:
                                                                                are not likely to be sufficient to pay the secured claim,
                                                                                any resulting claim will be in CLASS #2b

              3.       Treat Remainder

              4.       Other:



                   CLASS #6e       Claimant: Mohamed Sanfaz



                         This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.

August 2016                                                        Page 23                 VZ CH11.IND.NOTICE.HEARING.DISCLSR
        Case 2:18-bk-19004-VZ                 Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                                    Desc
                                               Main Document    Page 24 of 68


                   Address of Real Property 6b: 8201 Santa Fe Ave., Huntington Park, CA 90255; 2203 S. Alameda St.,
                   Los Angeles, CA 90058; 1736 24th Street, Los Angeles, CA 90058; 2445 S. Alameda St., Los Angeles, CA
                   90058, 1770 E. 22nd St, Los Angeles, CA 90058; 144 & 146 S. “G” Street, San Bernardino, CA 92410

                   Description of Personal Property 6b:

                   Vehicle 6b       Year:            Make:                          Model:                      VIN:

                   Value:           Valuation            Order on motion or stipulation             Declaration: Certified appraiser
                   $37,850,000      Method               Declaration: Debtor as owner               Other:

                                  Lien          Interest           Unpaid Principal                                      Total Amount of
                                                                                                Arrearages
                   Current       Priority         Rate                Balance                                             Allowed Claim
                   Status
                   of Loan                    20.0%
                                 4th                           $500,000                      N/A                       $500,000
                                              (fixed)

                 Terms of
               New Loan

              1.       Payments to Claimant

                                          Total Amount           Amt Paid on               Amounts Paid After Effective Date
                       a.
                                          of Arrearages         Effective Date
                       Arrearages                                                      Frequency           Int. Rate      Amt Each Pymt
                                                                                          Monthly
                                         $                     $                                                          $
                                                                                          Quarterly


                       b.     Ongoing               Principal +                  Escrowed amounts                      Amt Each Monthly
                              Payments               Interest                    Taxes              Insurance          Ongoing Payment
                            current loan
                            rewritten loan



                                                                     Until Arrearages Cured                   After Arrearages Cured
                       c.     Total Monthly Payment:
                                                               $                                       $


                                                            current loan
                       d.     Balloon Payment                                  Amount: $                      Payment Date:
                                                            rewritten loan


              2.       Sale by (date): 12/1/2019.             Proceeds:         are likely to be sufficient to pay the secured claim
                                                                                are not likely to be sufficient to pay the secured claim,
                                                                                any resulting claim will be in CLASS #2b

              3.       Treat Remainder

              4.       Other: Sale of 8201 Santa Fe Ave., Huntington Park, CA 90255


                         This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.

August 2016                                                        Page 24                 VZ CH11.IND.NOTICE.HEARING.DISCLSR
        Case 2:18-bk-19004-VZ                 Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                                    Desc
                                               Main Document    Page 25 of 68


                   CLASS #6f       Claimant: Allen Park



                   Address of Real Property 6b: 8201 Santa Fe Ave., Huntington Park, CA 90255; 2203 S. Alameda St.,
                   Los Angeles, CA 90058; 1736 24th Street, Los Angeles, CA 90058; 2445 S. Alameda St., Los Angeles, CA
                   90058, 1770 E. 22nd St, Los Angeles, CA 90058; 144 & 146 S. “G” Street, San Bernardino, CA 92410

                   Description of Personal Property 6b:

                   Vehicle 6b        Year:           Make:                          Model:                      VIN:

                   Value:            Valuation           Order on motion or stipulation             Declaration: Certified appraiser
                   $37,850,000       Method              Declaration: Debtor as owner               Other:

                                   Lien         Interest           Unpaid Principal                                      Total Amount of
                                                                                                Arrearages
                    Current       Priority        Rate                Balance                                             Allowed Claim
                    Status
                    of Loan                   20.0%
                                  4th                          $100,000                      N/A                       $100,000
                                              (fixed)

                 Terms of
               New Loan

              1.       Payments to Claimant

                                          Total Amount           Amt Paid on               Amounts Paid After Effective Date
                        a.
                                          of Arrearages         Effective Date
                        Arrearages                                                     Frequency           Int. Rate      Amt Each Pymt
                                                                                          Monthly
                                         $                     $                                                          $
                                                                                          Quarterly


                        b.     Ongoing              Principal +                  Escrowed amounts                      Amt Each Monthly
                               Payments              Interest                    Taxes              Insurance          Ongoing Payment
                             current loan
                             rewritten loan


                                                                     Until Arrearages Cured                   After Arrearages Cured
                        c.     Total Monthly Payment:
                                                               $                                       $


                                                            current loan
                        d.     Balloon Payment                                 Amount: $                      Payment Date:
                                                            rewritten loan


              2.       Sale by (date): 12/1/2019.             Proceeds:         are likely to be sufficient to pay the secured claim
                                                                                are not likely to be sufficient to pay the secured claim,
                                                                                any resulting claim will be in CLASS #2b

              3.       Treat Remainder
                         This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.

August 2016                                                        Page 25                 VZ CH11.IND.NOTICE.HEARING.DISCLSR
        Case 2:18-bk-19004-VZ                  Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                                     Desc
                                                Main Document    Page 26 of 68



              4.        Other: Sale of 8201 Santa Fe Ave., Huntington Park, CA 90255



                   CLASS #6g       Claimant: Kap Chan Chong



                   Address of Real Property 6b: 144 & 146 S. “G” Street, San Bernardino, CA 92410

                   Description of Personal Property 6b:

                   Vehicle 6b        Year:            Make:                          Model:                        VIN:

                   Value:            Valuation            Order on motion or stipulation             Declaration: Certified appraiser
                   $1 million        Method               Declaration: Debtor as owner               Other:

                                   Lien          Interest           Unpaid Principal                                       Total Amount of
                                                                                                 Arrearages
                    Current       Priority         Rate                Balance                                              Allowed Claim
                    Status
                    of Loan                    20.0%
                                  6th                           $98,114                       N/A                         $98,114
                                               (fixed)

                 Terms of
               New Loan

              1.        Payments to Claimant

                                           Total Amount           Amt Paid on               Amounts Paid After Effective Date
                        a.
                                           of Arrearages         Effective Date
                        Arrearages                                                      Frequency             Int. Rate     Amt Each Pymt
                                                                                           Monthly
                                          $                     $                                                           $
                                                                                           Quarterly


                        b.     Ongoing               Principal +                  Escrowed amounts                        Amt Each Monthly
                               Payments               Interest                    Taxes              Insurance            Ongoing Payment
                             current loan
                             rewritten loan    $98,114                     -0-                      -0-                   $1,040



                                                                      Until Arrearages Cured                     After Arrearages Cured
                        c.      Total Monthly Payment:
                                                                $                                         $


                                                             current loan
                        d.      Balloon Payment                                  Amount: $                       Payment Date:
                                                             rewritten loan


              2.        Sale by (date): .                      Proceeds:         are likely to be sufficient to pay the secured claim
                                                                                 are not likely to be sufficient to pay the secured claim,
                                                                                 any resulting claim will be in CLASS #2b
                          This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.

August 2016                                                         Page 26                 VZ CH11.IND.NOTICE.HEARING.DISCLSR
        Case 2:18-bk-19004-VZ                 Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                                   Desc
                                               Main Document    Page 27 of 68


              3.       Treat Remainder

              4.       Other:



                   CLASS #6h       Claimant: Soo Yeong Kim and Yeon Shim Song



                   Address of Real Property 6b: 8201 Santa Fe Ave., Huntington Park, CA 90255; 2203 S. Alameda St.,
                   Los Angeles, CA 90058; 1736 24th Street, Los Angeles, CA 90058; 2445 S. Alameda St., Los Angeles, CA
                   90058, 1770 E. 22nd St, Los Angeles, CA 90058; 144 & 146 S. “G” Street, San Bernardino, CA 92410

                   Description of Personal Property 6b:

                   Vehicle 6b        Year:           Make:                          Model:                      VIN:

                   Value:            Valuation           Order on motion or stipulation             Declaration: Certified appraiser
                   $37,850,000       Method              Declaration: Debtor as owner               Other:

                                   Lien         Interest           Unpaid Principal                                      Total Amount of
                                                                                                Arrearages
                    Current       Priority        Rate                Balance                                             Allowed Claim
                    Status
                    of Loan                   10%
                                  4th                          $83,229                       N/A                       $83,229
                                              (Judgment)

                 Terms of
               New Loan

              1.       Payments to Claimant

                                          Total Amount           Amt Paid on               Amounts Paid After Effective Date
                        a.
                                          of Arrearages         Effective Date
                        Arrearages                                                     Frequency           Int. Rate      Amt Each Pymt
                                                                                          Monthly
                                         $                     $                                                          $
                                                                                          Quarterly


                        b.     Ongoing              Principal +                  Escrowed amounts                      Amt Each Monthly
                               Payments              Interest                    Taxes              Insurance          Ongoing Payment
                             current loan
                             rewritten loan


                                                                     Until Arrearages Cured                   After Arrearages Cured
                        c.     Total Monthly Payment:
                                                               $                                       $


                                                            current loan
                        d.     Balloon Payment                                 Amount: $                      Payment Date:
                                                            rewritten loan


                         This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.

August 2016                                                        Page 27                 VZ CH11.IND.NOTICE.HEARING.DISCLSR
        Case 2:18-bk-19004-VZ                   Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                                    Desc
                                                 Main Document    Page 28 of 68


              2.       Sale by (date): 12/1/2019.             Proceeds:         are likely to be sufficient to pay the secured claim
                                                                                are not likely to be sufficient to pay the secured claim,
                                                                                any resulting claim will be in CLASS #2b

              3.       Treat Remainder

              4.       Other: Sale of 8201 Santa Fe Ave., Huntington Park, CA 90255



                   CLASS #6i       Claimant: Deutsche Bank



                   Address of Real Property 6b: 1770 E. 22nd St, Los Angeles, CA 90058

                   Description of Personal Property 6b:

                   Vehicle 6b           Year:        Make:                          Model:                        VIN:

                   Value:               Valuation        Order on motion or stipulation             Declaration: Certified appraiser
                   $150,000             Method           Declaration: Debtor as owner               Other:

                                   Lien          Interest          Unpaid Principal                                       Total Amount of
                    Current                                                                     Arrearages
                                  Priority         Rate               Balance                                              Allowed Claim
                    Status
                    of Loan
                                  1st                          $221,000                      N/A                         $221,000

                 Terms of
               New Loan

              1.       Payments to Claimant

                                            Total Amount         Amt Paid on               Amounts Paid After Effective Date
                        a.
                                            of Arrearages       Effective Date
                        Arrearages                                                     Frequency             Int. Rate     Amt Each Pymt
                                                                                          Monthly
                                           $                   $                                                           $
                                                                                          Quarterly


                        b.     Ongoing              Principal +                  Escrowed amounts                        Amt Each Monthly
                               Payments              Interest                    Taxes              Insurance            Ongoing Payment
                             current loan
                             rewritten loan     $221,000                  -0-                      -0-                   $1,186



                                                                     Until Arrearages Cured                     After Arrearages Cured
                        c.     Total Monthly Payment:
                                                               $                                         $


                                                            current loan
                        d.     Balloon Payment                                  Amount: $                       Payment Date:
                                                            rewritten loan
                         This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.

August 2016                                                        Page 28                 VZ CH11.IND.NOTICE.HEARING.DISCLSR
        Case 2:18-bk-19004-VZ                  Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                                 Desc
                                                Main Document    Page 29 of 68



              2.       Sale by (date): .                      Proceeds:         are likely to be sufficient to pay the secured claim
                                                                                are not likely to be sufficient to pay the secured claim,
                                                                                any resulting claim will be in CLASS #2b

              3.       Treat Remainder

              4.       Other:



                   CLASS #6j      Claimant: Los Angeles County Property Tax Assessor



                   Address of Real Property 6a: 8201 Santa Fe Ave., Huntington Park, CA 90255; 2203 S. Alameda St.,
                   Los Angeles, CA 90058; 1736 24th Street, Los Angeles, CA 90058; 2445 S. Alameda St., Los Angeles, CA
                   90058; 1770 E. 22nd St, Los Angeles, CA 90058

                   Description of Personal Property 6a:

                   Vehicle 6a          Year:          Make:                         Model:                     VIN:

                   Value:              Valuation         Order on motion or stipulation            Declaration: Certified appraiser
                   $36,850,000         Method            Declaration: Debtor as owner              Other:


                                  Lien          Interest           Unpaid Principal                                      Total Amount of
                    Current                                                                     Arrearages
                                 Priority         Rate                Balance                                             Allowed Claim
                    Status
                    of Loan
                                 1st           18%             $884,767                      $N/A                    $884,767

                 Terms of
               New Loan


              1.       Payments to Claimant

                                           Total Amount          Amt Paid on               Amounts Paid After Effective Date
                        a.
                                           of Arrearages        Effective Date
                        Arrearages                                                     Frequency         Int. Rate        Amt Each Pymt
                                          $                    $                          Monthly                         $
                                                                                          Quarterly


                        b.   Ongoing                 Principal +                 Escrowed amounts                    Amt Each Monthly
                        Payments                      Interest                                                       Ongoing Payment
                                                                                 Taxes              Insurance
                           current loan
                           rewritten loan      250,000 (est)                                                         $250,000


                        c.     Total Monthly Payment:                Until Arrearages Cured                  After Arrearages Cured



                         This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.

August 2016                                                        Page 29                 VZ CH11.IND.NOTICE.HEARING.DISCLSR
        Case 2:18-bk-19004-VZ                  Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                                    Desc
                                                Main Document    Page 30 of 68


                                                                $6,348                                  $



                                                             current loan
                        d.      Balloon Payment                                  Amount: $                     Payment Date:
                                                             rewritten loan

              2.        Sale by (date): 12/1/2019.             Proceeds:         are likely to be sufficient to pay the secured claim
                                                                                 are not likely to be sufficient to pay the secured claim,
                                                                                 any resulting claim will be in CLASS #2b

              3.        Treat Claim as Fully Unsecured: Pay as a general unsecured claim under CLASS #2b

           4.       Other: Sale of 8201 Santa Fe Ave., Huntington Park, CA 90255 and 1736 24th Street, Los Angeles,
CA 90058. $634,000 of property taxes to be paid from sale of above two properties, remainder to be paid over five years
at governmental interest rate.


                   CLASS #6k       Claimant: San Bernardino Property Tax Assessor



                   Address of Real Property 6a: 144 & 146 S. “G” Street, San Bernardino, CA 92410

                   Description of Personal Property 6a:

                   Vehicle 6a          Year:          Make:                          Model:                      VIN:

                   Value:              Valuation          Order on motion or stipulation            Declaration: Certified appraiser
                   $1 million          Method             Declaration: Debtor as owner              Other:


                                   Lien          Interest           Unpaid Principal                                      Total Amount of
                    Current                                                                      Arrearages
                                  Priority         Rate                Balance                                             Allowed Claim
                    Status
                    of Loan
                                 1st           18%              $143,111                      $N/A                      $884,767

                 Terms of
               New Loan


              1.        Payments to Claimant

                                           Total Amount           Amt Paid on               Amounts Paid After Effective Date
                        a.
                                           of Arrearages         Effective Date
                        Arrearages                                                      Frequency           Int. Rate      Amt Each Pymt
                                          $                     $                          Monthly                         $
                                                                                           Quarterly


                        b.   Ongoing                 Principal +                  Escrowed amounts                      Amt Each Monthly
                        Payments                      Interest                                                          Ongoing Payment
                                                                                  Taxes              Insurance
                           current loan
                           rewritten loan      $143,111                                                                 $143,111
                          This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.

August 2016                                                         Page 30                 VZ CH11.IND.NOTICE.HEARING.DISCLSR
        Case 2:18-bk-19004-VZ               Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                               Desc
                                             Main Document    Page 31 of 68



                                                                   Until Arrearages Cured                  After Arrearages Cured
                     c.    Total Monthly Payment:
                                                             $3,634                                  $


                                                          current loan
                     d.     Balloon Payment                                   Amount: $                    Payment Date:
                                                          rewritten loan

              2.     Sale by (date): 12/1/2019.             Proceeds:         are likely to be sufficient to pay the secured claim
                                                                              are not likely to be sufficient to pay the secured claim,
                                                                              any resulting claim will be in CLASS #2b

              3.     Treat Claim as Fully Unsecured: Pay as a general unsecured claim under CLASS #2b

              4.     Other:



       See Exhibit         for more impaired secured claims on non-Residence property. Label as Class #6e, etc.


VIII. Unclaimed or Undeliverable Plan Distributions. Payments or other distributions made under the Plan
      that are unclaimed or undeliverable for six (6) months after the attempted distribution will revest in the post-
      confirmation debtor free of restrictions. Any entitlement to distribution will be barred.


IX. Discharge. Upon completion of payments required by the Plan, or as provided in § 1141(d)(5)(B), the Debtor will
    receive a discharge of all debts that arose prior to confirmation of the Plan, whether or not a claimant filed a proof of
    claim or voted to accept the Plan. This will not discharge Debtor from any debts that are non-dischargeable under §
    523 or from obligations created by the Plan. To obtain a discharge, the Debtor must file and serve a motion for
    discharge, and the motion must be granted.


X. List of Exhibits and Declarations.
MANDATORY

      Exhibit A: Declaration of Debtor to support all assertions in this Disclosure Statement, and all information provided
                 in all other Exhibits.

      Exhibit B: List of all claims (next to each claim, indicate whether or not the claim is disputed and scheduled or
                 unscheduled, and include the class number).

      Exhibit C: List of all property of the estate, and valuations as of the date of plan confirmation. Include appendices
                 to describe valuation methods such as order to determine value, declaration of debtor or appraiser, etc.

      Exhibit D: Projected income, expenses, and plan payments prepared on (date) March 8, 2019 including proposed
                 plan payments to be made on the Effective Date and for each month and/or quarter of the Plan Term.
                 Sources and uses of funds and any expense fluctuations are explained.




                       This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.

August 2016                                                     Page 31                  VZ CH11.IND.NOTICE.HEARING.DISCLSR
        Case 2:18-bk-19004-VZ               Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                             Desc
                                             Main Document    Page 32 of 68




OPTIONAL


      Exhibit E: Letters from Environmental Protection Agency (“EPA”) re Santa Fe Property.



    Date:                                                                  SEE NEXT PAGE
                                                                           Signature of Debtor

                                                                           Jong Uk Byun
                                                                           Printed name of Debtor


    Date: 03/11/2019                                                       /s/ M. Jonathan Hayes
                                                                           Signature of attorney for Debtor, if any


                                                                           M. Jonathan Hayes
                                                                           Printed name of attorney for Debtor, if any




                       This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.

August 2016                                                     Page 32                  VZ CH11.IND.NOTICE.HEARING.DISCLSR
Case 2:18-bk-19004-VZ   Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48   Desc
                         Main Document    Page 33 of 68
Case 2:18-bk-19004-VZ   Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48   Desc
                         Main Document    Page 34 of 68
Case 2:18-bk-19004-VZ   Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48   Desc
                         Main Document    Page 35 of 68
Case 2:18-bk-19004-VZ   Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48   Desc
                         Main Document    Page 36 of 68
Case 2:18-bk-19004-VZ   Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48   Desc
                         Main Document    Page 37 of 68
Case 2:18-bk-19004-VZ   Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48   Desc
                         Main Document    Page 38 of 68
Case 2:18-bk-19004-VZ   Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48   Desc
                         Main Document    Page 39 of 68
Case 2:18-bk-19004-VZ   Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48   Desc
                         Main Document    Page 40 of 68
Case 2:18-bk-19004-VZ   Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48   Desc
                         Main Document    Page 41 of 68
Case 2:18-bk-19004-VZ   Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48   Desc
                         Main Document    Page 42 of 68
Case 2:18-bk-19004-VZ   Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48   Desc
                         Main Document    Page 43 of 68
Case 2:18-bk-19004-VZ   Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48   Desc
                         Main Document    Page 44 of 68
Case 2:18-bk-19004-VZ   Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48   Desc
                         Main Document    Page 45 of 68
Case 2:18-bk-19004-VZ   Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48   Desc
                         Main Document    Page 46 of 68
Case 2:18-bk-19004-VZ   Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48   Desc
                         Main Document    Page 47 of 68
Case 2:18-bk-19004-VZ   Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48   Desc
                         Main Document    Page 48 of 68
Case 2:18-bk-19004-VZ   Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48   Desc
                         Main Document    Page 49 of 68
Case 2:18-bk-19004-VZ   Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48   Desc
                         Main Document    Page 50 of 68
Case 2:18-bk-19004-VZ   Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48   Desc
                         Main Document    Page 51 of 68
Case 2:18-bk-19004-VZ   Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48   Desc
                         Main Document    Page 52 of 68
Case 2:18-bk-19004-VZ   Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48   Desc
                         Main Document    Page 53 of 68
Case 2:18-bk-19004-VZ   Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48   Desc
                         Main Document    Page 54 of 68




                         EXHIBIT E
Case 2:18-bk-19004-VZ         Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                 Desc
                               Main Document    Page 55 of 68



                 UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                      REGION IX
                                  75 Hawthorne Street
                                San Francisco, CA 94105



                                            November 26, 2018



Central Metal, Inc.
c/o Jong Byun
Site Owner & Operator Representative
2203 South Alameda Street
Los Angeles, CA 90058

SUBJECT

Access to:                     Damille Metal SVC Site
                               CERCLIS EPA ID: CAN000903324
                               Los Angeles County Assessor Parcel Number(s):
                               6202-036-009, -010, -011, -012, and -013 and
                               6202-037-004, -006, -009, and -010

Investigation Activities:      Subsurface Geophysical Survey in advance of Site Inspection (SI)
                               Subsurface Soil and Soil Vapor Sampling

Dear Mr. Byun,

The U.S. Environmental Protection Agency (EPA) is conducting a Site Inspection (SI) at the
subject site, Damille Metal SVC (Damille), pursuant to its response and enforcement
responsibilities under the Comprehensive Environmental Response, Compensation and Liability
Act (CERCLA), 42 U.S.C. §9601 et seq. EPA requests that you sign the attached Access
Agreement authorizing EPA to conduct the initial investigation activities, identified above, on your
property. Note that these initial activities do not include sampling of any site media. Authorization
for subsequent portions of the investigations will be requested under separate cover once a more
comprehensive sampling schedule has been developed.

Based on the information presented in the January 2018 PA Report, which was provided to you in
February 2018, EPA has determined that the Damille site has the potential to qualify for the
National Priorities List (NPL). However, in order to substantiate if a release of hazardous
substances to area groundwater has occurred, EPA will need to conduct an SI Investigation, which
will include sampling of soil, soil vapor, and groundwater both on, and adjacent to, the site.




                                                 1!
!
Case 2:18-bk-19004-VZ         Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                  Desc
                               Main Document    Page 56 of 68



The SI Investigation will be conducted in two distinct stages, designated as Stage 1 and Stage 2.
The Stage 1 event will be conducted first and will include the collection of soil and soil vapor
samples from the site. The Stage 2 event will be conducted approximately six weeks after the
completion of Stage 1 and will include the collection of soil and groundwater samples from both
on, and adjacent to, the site. The specific Stage 2 sampling program will be determined, at least in
part, on interpretation of the data obtained during the Stage 1 event. The anticipated investigative
activities associated with the SI sampling are detailed in the EPA-approved Sampling and Analysis
Plan (SAP), which is enclosed in a digital format and can be provided to you in a hardcopy format
at your request. Note that subsequent to a review of the Stage 1 data, a SAP addendum will be
developed and provided to you that will provide additional details on the anticipated Stage 2
investigative efforts, including specific sampling locations. It should also be noted that the SAP is
final and is subject to your review, but not your approval. EPA will, of course, consider any
clarifying questions or comments you may have on the SAP, but we will not consider those
binding.

Weston Solutions, Inc. (WESTON), is EPA’s contractor who will be performing the SI sampling
under EPA’s direction. WESTON will be responsible for the overall coordination of the
investigation and for ensuring the execution of the project within the anticipated schedule and in
accordance with reasonable requirements made by property owners or designees.

The SI Stage 1 investigative efforts will include the advancement of up to 20 direct push borings
to approximately 20 feet (ft) below ground surface (bgs) to be located primarily on a gridded
pattern across the central and eastern portions of the site. Within each boring, two soil and two soil
vapor samples will be collected. A figure illustrating the anticipated Stage 1 sample locations is
enclosed (Attachment A).

Furthermore, during the Stage 1 field efforts, EPA and/or WESTON may elect to collect one or
more solid matrix samples from any apparent waste or debris piles located on the subject site.

Prior to the advancement of subsurface borings, a geophysical survey will be conducted to identify
any underground utilities, tanks, or other obstacles that may exist on or near all sampling locations
at the site. In addition, Underground Service Alert of Southern California (i.e., DigAlert) will be
notified at least 72 hours before drilling commences. The geophysical survey for the Stage 1 field
efforts is tentatively scheduled for December 20, 2018. The Access Agreement authorizing EPA
to conduct this survey is enclosed (Attachment B).

The owner and/or operator of the subject site may request that ‘split-samples’ be provided for each
sample collected during the SI investigation. EPA will make a reasonable effort to grant this
request if such request does not adversely impact the integrity of the investigation or the overall
schedule of work. EPA will not provide sample containers for the ‘split-samples’ nor can EPA
guarantee that sufficient sample volume will be collected for multiple sets of samples, in which
case EPA sample volumes will be prioritized. In addition, if actual field conditions require a
modification in the tentative schedule, EPA will make a reasonable effort to notify the owner
and/or operator representative(s) of the change; however, EPA cannot guarantee that sufficient
notification will be provided to allow for the representative to remobilize to the site.



                                                  2!
!
Case 2:18-bk-19004-VZ        Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                 Desc
                              Main Document    Page 57 of 68



During the SI sampling event, industrial derived waste (IDW) may be accumulated. It is
anticipated that a total of up to two 55-gallon drums of soil cuttings and two 55-gallon drums of
purge groundwater/decontamination fluids may be required to be left on the subject site at a
location deemed suitable by the site owner and/or operator pending laboratory analysis.
Appropriate IDW disposal arrangements will be coordinated by WESTON subsequent to the
reception of analytical findings at no costs to the site owner or operator.

EPA requests access to the subject site for the following times and purposes:

    1) Period: Wednesday, December 19th through Friday, December 21st, 2018
       Purpose: SI Stage 1 Geophysical survey

       It is anticipated that the geophysical survey will require approximately four hours on the
       subject site, which is tentatively scheduled for Thursday, December 20th, 2018. However,
       to account for fieldwork uncertainties, EPA requests access to the subject site for the
       entirety of the period stated above. No sampling will be conducted during this time period.
       In addition to EPA and any representatives of California state or local environmental
       regulatory agencies, the following firms will require access to the site during this time
       period:

               WESTON
               ULS Services Corporation

    2) Period: TBD (anticipated to be late January 2019)
       Purpose: SI Stage 1 soil and soil vapor sampling

       It is anticipated that the investigation will require approximately five days to complete and
       will be scheduled for late January 2019. The samples will be collected by an EPA
       contractor who will be utilizing a direct push drilling rig. Soil vapor samples will be
       analyzed on site by an EPA contractor who will be utilizing a mobile laboratory.
       Authorization to access the site for this stage of the event, as well as additional details
       regarding the specific schedule and on-site activities associated with the event, will be
       provided under separate cover at a later date.

    3) Period: TBD (anticipated to be March 2019)
       Purpose: SI Stage 2 Geophysical survey

       It is anticipated that the geophysical survey will require approximately four hours on the
       subject site, which is anticipated to occur approximately two weeks prior to the SI Stage 2
       sampling event. This second survey is required since the specific Stage 2 sampling
       locations will not have been determined at the time of the initial survey. No sampling will
       be conducted during this time period. Authorization to access the site for these activities
       will be provided under separate cover at a later date.




                                                 3!
!
Case 2:18-bk-19004-VZ         Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                 Desc
                               Main Document    Page 58 of 68



    4) Period: TBD (anticipated to be March 2019)

       Purpose: SI Stage 2 soil and groundwater sampling
       It is anticipated that the investigation will require approximately five days to complete and
       will be scheduled for March 2019. The samples will be collected by an EPA contractor
       who will be utilizing a direct push drilling rig and a Cone Penetration Testing (CPT) rig.
       Authorization to access the site for this stage of the event, as well as additional details
       regarding the specific schedule and on-site activities associated with the event, will be
       provided under separate cover at a later date.

An Access Agreement providing permission for EPA and its contractors to access your property
for the SI Stage 1 Geophysical survey (Period No. 1 above) is included as Attachment B and is
accompanied by an addressed, stamped envelope for returning the signed agreement to EPA.
Please return your signed Access Agreement to me by Wednesday, December 5th, 2018.

Upon signing the Access Agreement, please coordinate with the WESTON Field Project Manager,
Brian Reilly, at (541) 593-3800 (office) or (541) 771-4397 (mobile) to discuss logistics.

Please be aware that EPA has the right to access private property pursuant Section 104(e)(4)(A)
of CERCLA, 42 U.S.C. §9601 et seq. This section states that “any officer, employee, or
representative is authorized to inspect and obtain samples from any vessel, facility, establishment,
or other place or property or from any location of any suspected hazardous substance or pollutant
or contaminant.” If EPA cannot arrange for voluntary access, EPA is authorized to issue an
administrative order for access, under which failure to comply is subject to civil penalties of up to
$27,500/day.

In summary:

    1. The initial geophysical survey activity is tentatively scheduled for December 20, 2018.
    2. Access to the subject site will be requested under separate cover for up to three additional
       mobilizations, which are anticipated to occur between January and March 2019.
    3. Return your signed Access Agreement (Attachment B) for the initial time period to EPA
       in the stamped, addressed envelope by December 5, 2018.
    4. Upon signing the Access Agreement, coordinate with Brian Reilly of WESTON to discuss
       investigation logistics.

EPA appreciates your cooperation in promptly returning your signed Access Agreement to EPA
by December 5th, 2018. If you have any questions regarding the project, you can reach me at
(415) 972-3096 or the EPA Attorney, Andrew Helmlinger, (415) 972-3904.

                                      Sincerely,


                                      Matt Mitguard, Site Assessment Manager
                                      United States Environmental Protection Agency
                                      Superfund Division
                                                   4!
!
Case 2:18-bk-19004-VZ      Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48            Desc
                            Main Document    Page 59 of 68



Encl:
Attachment A: SI Stage 1 Sample Locations
Attachment B: Access Agreement and stamped envelope
Attachment C: Site Inspection Sampling and Analysis Plan – Damille Metal SVC (digital media)

cc:   Joe DeFao, Weston Solutions, Inc.
      Narine Aghakiant, CA Department of Toxic Substances Control
!




                                             5!
!
     Case 2:18-bk-19004-VZ                        Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                     Desc
                                                   Main Document    Page 60 of 68




                                                                                                            DMS-SV-4
                                      DMS-SV-1
                                                                      DMS-SV-2                  DMS-SV-3

                                        DMS-SV-5

                                                                   DMS-SV-6                                 DMS-SV-8
                                                                                          DMS-SV-7

                                                                                                           DMS-SV-11
                                                           DMS-SV-9
                                                                                              DMS-SV-10

                                                            DMS-SV-12

                                                                                   DMS-SV-13          DMS-SV-14



                                                                              DMS-SV-15               DMS-SV-16



                                                                                          DMS-SV-17



                                                                                             DMS-SV-18




                                                                                           DMS-SV-20



                                                                                                          DMS-SV-19


                                                                           References:
Legend                                                                     Google, 2018                        !""#$%&'(")!
    Site Boundary               Combined Soil Vapor & Soil Matrix Boring                                     *+,*,-./)-0!1.)2)
                                                                                                            -!3*4.)4!5,60)3!*
    Existing Site Structure
                                                                                                               Damille Metal SVC
    Historical Site Feature                                                                                     Site Inspection
                                                                                                             8201 Santa Fe Avenue
                                                                                                              Huntington Park, CA
    0               Scale in Feet           200
Case 2:18-bk-19004-VZ       Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                Desc
                             Main Document    Page 61 of 68




                   UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                        REGION IX
                                    75 Hawthorne Street
                                  San Francisco, CA 94105



                               ACCESS AGREEMENT

   Subject: Access to Former Damille Metal Services Property
   Assessor Parcel Number(s): 6202-036-009, -010, -011, -012 and -013
                              and 6202-037-004, -006, -009, and -010
   EPA Site ID: Damille Metal SVC
   EPA ID Number: CAN000903324
   I consent to officers, employees, contractors, and authorized representatives of the United
   States Environmental Protection Agency (EPA) entering and having continued access to
   this property for the following purposes and time periods:

      1. Geophysical Survey – December 19th through 21st, 2018.

   I realize that these actions taken by EPA are undertaken pursuant to its response and
   enforcement responsibilities under the Comprehensive Environmental Response,
   Compensation and Liability Act, 42 U.S.C. §9601 et seq.

   This written permission is given by me voluntarily, on behalf of myself and all other
   co-owners of this property, with knowledge of my right to refuse and without threats or
   promises of any kind.


   _________________            ___________________________________
   Date                         Signature

                                 ___________________________________
                                 Print name, title



   Note: Please return this agreement using the self-addressed and franked envelope
   provided




       EPA Access Request Letter – Damille Metal SVC – Byun – November 26, 2018
                                     Attachment B
Case 2:18-bk-19004-VZ   Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48   Desc
                         Main Document    Page 62 of 68
Case 2:18-bk-19004-VZ   Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48   Desc
                         Main Document    Page 63 of 68
Case 2:18-bk-19004-VZ   Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48   Desc
                         Main Document    Page 64 of 68
Case 2:18-bk-19004-VZ   Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48   Desc
                         Main Document    Page 65 of 68
Case 2:18-bk-19004-VZ   Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48   Desc
                         Main Document    Page 66 of 68
Case 2:18-bk-19004-VZ   Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48   Desc
                         Main Document    Page 67 of 68
        Case 2:18-bk-19004-VZ              Doc 110 Filed 03/11/19 Entered 03/11/19 19:26:48                              Desc
                                            Main Document    Page 68 of 68


                                            PROOF OF SERVICE OF DOCUMENT

I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is: 17609
Ventura Blvd. Suite 314, Encino, CA 91316.

A true and correct copy of the foregoing document entitled: CHAPTER 11 DISCLOSURE STATEMENT AND PLAN OF
REORGANIZATION OF DEBTOR WHO IS AN INDIVIDUAL(S) WITH PRIMARILY CONSUMER DEBTS [11 U.S.C.
§§ 1123, 1125] will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
March 11, 2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

    •   John Burgee jburgee@bandalaw.net
    •   [Counsel for Duetsche Bank] Theron S Covey tcovey@rasflaw.com, CAECF@tblaw.com
    •   [Counsel for Bank of Hope] Hal D Goldflam hgoldflam@frandzel.com, bwilson@frandzel.com
    •   [Counsel for Debtor] M. Jonathan Hayes jhayes@rhmfirm.com,
        roksana@rhmfirm.com;rosario@rhmfirm.com;janita@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;priscill
        a@rhmfirm.com;pardis@rhmfirm.com;russ@rhmfirm.com;rebeca@rhmfirm.com
    •   [Counsel for Packo Investment] David W. Meadows david@davidwmeadowslaw.com
    •   [Counsel for DLI Assets Bravo, LLC] Katrina M Miller kmiller@pskfirm.com
    •   [Counsel for US Trustee] Kelly L Morrison kelly.l.morrison@usdoj.gov
    •   [Unsecured Creditor]Daniel E Park dpark@parksylvalaw.com
    •   [Counsel for Hyundai Steel;] Darren L Patrick dpatrick@omm.com
    •   [Counsel for creditor Coleman & Horowitz] Steven G. Polard spolard@ch-law.com, cborrayo@ch-law.com
    •   Valerie Smith claims@recoverycorp.com
    •   United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov

2. SERVED BY UNITED STATES MAIL: On (date) March 11, 2019, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.
Judge:
Hon. Vincent P. Zurzolo                                                   Debtor:
U.S. Bankruptcy Court                                                     Jong Uk Byun
255 E. Temple Street, Suite 1360                                          8201 Santa Fe Ave.
Los Angeles, CA 90012                                                     Huntington Park, CA 90255


                                                                                   Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) March 11, 2019, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.    Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

   March 11,                           Ja’Nita Fisher                                               /s/ Ja’Nita Fisher
      2019
 Date                                  Printed Name                                                      Signature
                      This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.

August 2016                                                    Page 33                  VZ CH11.IND.NOTICE.HEARING.DISCLSR
